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                   Case: 1:15-cr-00065, Document: 38, Filed: 10-02-2015, Page 3 of 5

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SODQRQVXEPLWWLQJDGGLWLRQDOFODLPVWRWKH10&95&DQGWKHUHIRUHIXUWKHUUHVWLWXWLRQPD\EHLPSRVHGDWDODWHUGDWH7KH
UHVWLWXWLRQZLOOEHSDLGLQSD\PHQWVRIQROHVVWKDQSHUPRQWK

8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLQWKHVSHFLDOLQVWUXFWLRQVDERYHLIWKLVMXGJPHQWLPSRVHVDSHULRGRILPSULVRQPHQW
SD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVVKDOOEHGXHGXULQJWKHSHULRGRILPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOW\SD\PHQWV
H[FHSWWKRVHSD\PHQWVPDGHWKURXJKWKH%XUHDXRI3ULVRQV ,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHWREHPDGHDVGLUHFWHGE\
WKHFRXUWWKHSUREDWLRQRIILFHURUWKH8QLWHG6WDWHVDWWRUQH\
